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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 UNITED STATES OF AMERICA,                         CR 17-15-BLG-SPW-2

                        Plaintiff,
                                                ORDER SETTING
           vs.                                  SENTENCING

 JOSE SOLTERO,

                        Defendant.

      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on September 5, 2017. United States Magistrate Judge

Timothy J. Cavan entered Findings and Recommendation in this matter on

September 5, 2017 (Doc. 47). No objections having been filed within fourteen

days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations (Doc. 101) are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Wednesday, January 17, 2018 at 10:30 a.m., in

the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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      2.    The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).

      3.    The probation officer shall disclose the completed report, except for

recommendations of the probation officer as follows: two copies to counsel for

Defendant, and one copy to counsel for the government on or before November

28, 2017. The probation officer shall not disclose any recommendation made or to

be made to the Court.

      4.     If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

      5.     Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before December 12,

2017. U.S.S.G. § 6Al .2. Any unresolved objections are expected to be

included in the pre-sentence report, not in a sentencing memorandum.

      6.     The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before December

26, 2017.




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      7.      Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before January 2, 2018. Absent

good cause shown, sentencing memoranda and supporting documents filed after

January 2, 2018 will not be considered in addressing sentencing issues. Failure to

timely file sentencing memoranda may result in imposition of sanctions against

counsel.

      8.      Responses to sentencing memoranda shall be filed on or before

January 9, 2017.

      9.      Reply briefs will not be accepted for filing in sentencing matters.

      10.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al .3.

      11.     All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

       12.    Defendant is released under the same terms and conditions pending

sentencing.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.
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      DATED thisd'Q_ day of Septem717.                   .         , . .     .
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                                         SUSANP. WATTERS
                                         United States District Judge


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